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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

  BMG RIGHTS MANAGEMENT (US) LLC,
  et al.,
                Plaintiffs,
                                                 Civil No. 1:14-cv-1611 (LO/JFA)
                v.

  COX COMMUNICATIONS, INC, et al.,

                         Defendants.


              NON-PARTY ROGER VREDENBURG’S MOTION TO QUASH
                        PLAINTIFF’S TRIAL SUBPOENA


        Non-party Roger Vredenburg respectfully moves this Court to quash the Plaintiff’s trial

 subpoena in the above-captioned case. Mr. Vredenburg states the specific grounds for his motion

 in the accompanying Memorandum of Law in Support of Non-Party Roger Vredenburg’s Motion

 to Quash Plaintiff’s Trial Subpoena.



 Dated: August 3, 2018                               Respectfully submitted,

                                                     /s/ Thomas M. Buchanan
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                                CERTIFICATE OF SERVICE

        I certify that on August 3, 2018, a copy of the foregoing NON-PARTY ROGER

 VREDENBURG’S MOTION TO QUASH PLAINTIFF’S TRIAL SUBPOENA was filed

 electronically with the Clerk of Court using the ECF system which will send notifications to ECF

 participants.



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